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                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

DANIEL Z. CROWE, et al.,                             Case No. 3:18-cv-02139-JR

                      Plaintiffs,                    PLAINTIFFS’ RESPONSE TO
                                                     DEFENDANTS’ MOTION TO DISMISS
       v.
                                                     ORAL ARGUMENT REQUESTED
OREGON STATE BAR, et al.,

                      Defendants.




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I.     INTRODUCTION

       Oregon requires attorneys to join and pay dues to the Oregon State Bar (“OSB”) as a

condition of practicing law in the state. The OSB uses some of the mandatory dues money it

collects for political and ideological speech. The Plaintiffs—two Oregon attorneys and a

nonprofit organization whose members are Oregon attorneys—object to mandatory bar

membership and dues, and to the use of mandatory dues for political and ideological speech.

       In their Complaint, Plaintiffs state three causes of action under the First and Fourteenth

Amendment, which respectively allege that: (1) mandatory OSB membership violates attorneys’

right to freedom of association; (2) OSB has violated their right to free speech by using dues

money for political and ideological speech without their affirmative consent; and (3) regardless

of whether mandatory dues and fees are inherently unconstitutional, the OSB has insufficient

safeguards to ensure that dues are not used for political and ideological activity that is not

germane to the OSB’s purpose of regulating lawyers and improving the quality of legal services.

       Plaintiffs’ claims are well-founded. The Supreme Court has recently made clearer than

ever that mandatory associations infringe on First Amendment rights and that a mandatory

association such as the OSB must obtain individuals’ affirmative consent before using their

money for political speech. See Janus v. AFSCME, 138 S. Ct. 2448, 2463, 2486 (2018).

Moreover, the OSB has failed to provide procedural safeguards to protect First Amendment

rights that Supreme Court precedent has required for decades.

       Further, the OSB has not established that it is entitled to Eleventh Amendment immunity,

and it is undisputed that Plaintiffs may pursue declaratory and injunctive relief against the

individual Defendants, who are OSB officials sued in their official capacity.

       The Court therefore should deny Defendants’ motion to dismiss.

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II.    FACTS

       This lawsuit challenges the State of Oregon’s requirement that attorneys join and pay fees

to Defendant OSB, the OSB’s use of attorneys’ mandatory fees for political and ideological

activity without members’ affirmative consent, and OSB’s lack of procedures to protect

members’ First Amendment rights.

       A.      Oregon’s mandatory bar membership and fees

       Oregon law compels every attorney licensed in Oregon to join its integrated bar

association, the OSB, in order to earn a living practicing law in the state. ORS 9.160; Compl. ¶

26. State law also authorizes OSB to charge annual membership fees to its mandatory members.

ORS 9.191; Compl. ¶ 27. The OSB publishes general information about its allocation of

membership fees—identifying general categories of expenditures—but it does not publish

information about whether or how it determines whether a given allocation of funds was for

purposes germane to improving the quality of legal services and regulating attorneys. Compl. ¶

34.

       B.      OSB’s use of mandatory fees for political and ideological speech

       In fact, OSB uses mandatory member fees for legislative and policy advocacy in

accordance with “Legislative Policy Guidelines” approved by its Board of Governors. Id. ¶¶ 35,

37. Those Guidelines state:

               OSB’s legislative or policy activities shall be limited to those
               reasonably related to any of the following subjects: regulating and
               disciplining lawyers; improving the function of the courts,
               including issues of judicial independence, fairness, efficacy and
               efficiency; making legal services available to society; regulating
               lawyer trust accounts; the education, ethics, competence, integrity
               and regulation of the legal profession; providing law improvement
               assistance to elected and appointed government officials; issues
               involving the structure and organization of federal, state and local
               courts in or affecting Oregon, issues involving rules of practice,
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                 procedure and evidence in federal, state or local court in or
                 affecting Oregon; or issues involving the duties and functions of
                 judges and lawyers in federal, state and local courts in or affecting
                 Oregon.

Id. ¶ 36.

        OSB’s Legislative Policy Guidelines do not distinguish between germane and non-

germane activities. Id. ¶ 37. Nor do they articulate what tests or procedures, if any, are in place to

ensure that OSB’s classification of expenditures as germane is proper. Id. ¶ 38.

        Further, OSB lacks safeguards and procedures to ensure that members’ fees are not used

for non-chargeable activities such as political speech. Id. ¶ 67. Indeed, OSB has taken the

position that it may use member dues for non-chargeable activities as long as it refunds a portion

of dues back to members who object to a given non-chargeable activity. Id. ¶ 68. As a result of

its insufficient safeguards and procedures, OSB has used mandatory member dues for non-

chargeable activities, including political speech, without receiving members’ affirmative consent.

Id. ¶ 69. And through its legislative and policy activities, OSB expends members’ dues for

political and ideological activities that are not germane to OSB’s purpose. Id. ¶ 40.

        Further, the OSB has used mandatory member fees to publish political speech in its Bar

Bulletin periodical. Id. ¶¶ 41-44. In the April 2018 Bar Bulletin, the OSB published, on opposing

pages, two statements on alleged “white nationalism,” one of which criticized President Donald

Trump for, among other things, allegedly “allowing [the white nationalist movement] to make up

the base of his support” and signing an executive order restricting immigration and refugee

admissions. Id. ¶¶ 42-43 & Compl. Exh. A.

        Plaintiffs Daniel Crowe and Lawrence Peterson—Oregon attorneys who have been

compelled to join and pay dues to OSB—learned of OSB’s publication of these statements when

they received the Bar Bulletin in the mail in April 2018. Compl. ¶¶ 14, 17, 28, 46. Crowe and
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Peterson disagree with the statements’ allegations against, and explicit and implicit criticism of,

President Trump.1 Id. ¶ 47. If given a choice, they would not have voluntarily paid for the

statements’ publication. Id. ¶ 48. On April 25, 2018, Peterson contacted Defendant Helen

Hierschbiel, OSB’s Chief Executive Officer and Chief Executive Director, to inform OSB of his

objections to the use of bar fees to publish the statements, and requested a refund of his annual

membership fees. Id. ¶¶ 23, 49. The following day, Mr. Crowe did the same. Id. ¶ 50.

       In response to their objections, Crowe and Peterson each received a partial dues refund

from OSB in the amount of $1.15—calculated as $1.12, plus $0.03 of statutory interest. Id. ¶ 51.

Other OSB members also objected to the statements and then likewise received partial dues

refunds. Id. ¶ 52. OSB has not informed Crowe and Peterson how it calculated the amounts of

these partial dues refunds.2 Id. ¶ 53.

       C.      Plaintiffs’ injuries

       Plaintiffs Crowe and Peterson have suffered irreparable harm from being required to join

and pay dues to OSB as a condition of practicing law in Oregon. Id. ¶ 59. They object to being

required to join and pay dues to OSB as a condition of practicing law in the state. Id. ¶¶ 57-58.



1
  Defendants’ motion to dismiss selectively quotes the Bar Bulletin statements’ general
condemnations of white nationalism and violence and then asserts that Crowe and Peterson
“disagreed with these statements”—potentially creating the false and offensive impression that
the Plaintiffs are not opposed to white nationalism and violence. (Mot. to Dismiss (“MTD”) 11-
12.) The Complaint makes Crowe and Peterson’s primary disagreement clear: they “disagree
with the statements’ allegations against, and explicit and implicit criticism of, President Trump.”
Compl. ¶ 47. Further, Plaintiffs object to OSB using mandatory fees for any political speech,
regardless of content. Id. ¶ 56.
2
  Defendants’ motion to dismiss asserts that Crowe and Peterson “received a refund for the full
amount of their membership fees used to publish the April 2018 Bulletin, plus statutory interest,”
citing paragraph 51 of the Complaint. MTD at 5. But the Complaint does not state that the
refunds Plaintiffs received were the “full amount” of fees used to publish the statements they
objected to. Rather, it states that OSB has provided no explanation of how it determined the
refund amount. Compl. ¶ 53.
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As long as they are forced to pay dues to OSB, they do not wish to have those dues used to fund

OSB’s legislative and policy advocacy. Id. ¶ 54. If given a choice, they would not fund that

activity. Id. They did not wish to have their mandatory dues used to publish the two statements in

the April 2018 Bar Bulletin in particular and, if given a choice, would not have funded the

statements’ publication. Id. ¶ 55. Further, Crowe and Peterson do not wish to have their

mandatory dues used for any political speech or activity and, if given a choice, would not fund

any of OSB’s political speech or activity. Id. ¶ 56.

       Plaintiff Oregon Civil Liberties Attorneys (“ORCLA”) is a nonprofit organization whose

members are all attorneys licensed to practice law in Oregon and are therefore mandatory

members of OSB. Id. ¶ 18. ORCLA is a plaintiff on behalf of its members, who are being injured

in the same way that Crowe and Peterson are being injured: they do not wish to be required to

join or pay OSB, and they do not wish to have their mandatory OSB dues used to fund OSB’s

political speech or activity. Id. ¶¶ 54-60.

       D.      Plaintiffs’ claims

       Plaintiffs filed this lawsuit under 42 U.S.C. § 1983 and the First and Fourteenth

Amendments to the United States Constitution to challenge OSB’s mandatory membership and

fees and its use of mandatory fees for political and ideological activities.

       In their first claim, Plaintiffs allege that OSB has violated their First and Fourteenth

Amendment rights by failing to provide minimum safeguards to ensure that member dues are not

used for non-chargeable activity. Compl. ¶¶ 61-72.

       In their second claim, Plaintiffs allege that OSB has violated their First and Fourteenth

Amendment rights by using mandatory dues for non-chargeable activities—including publication




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of the April 2018 Bar Bulletin and OSB’s legislative and policy advocacy generally—without

obtaining members’ prior, clear, and affirmative consent. Id. ¶¶ 73-79.

       In their third claim, Plaintiffs allege that compulsory OSB membership and dues

inherently violate attorneys’ right to choose which groups they will and will not associate with

and their right to avoid subsidizing group speech with which they disagree, both of which are

protected by the First and Fourteenth Amendments. Id. ¶¶ 80-89.

III.   LEGAL STANDARDS

       A.      Rule 12(b)(1) standard

       In evaluating a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), the

Court must accept all of the complaint’s factual allegations as true. Wolfe v. Strankman, 392 F.3d

358, 362 (9th Cir. 2004). Ordinarily, a jurisdictional attack under Rule 12(b)(1) would require

plaintiff to bear the burden of establishing the court’s jurisdiction. See Kokkonen v. Guardian

Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). But where, as here, an entity asserts Eleventh

Amendment immunity—which “does not implicate a federal court’s subject matter jurisdiction

in any ordinary sense”—the entity asserting immunity bears the burden to prove that it applies.

ITSI T.V. Prods., Inc. v. Agric. Ass’ns, 3 F.3d 1289, 1291 (9th Cir. 1993).

       B.      Rule 12(b)(6) standard

       “Rule 12(b)(6) motions are viewed with disfavor.” Broam v. Bogan, 320 F.3d 1023, 1028

(9th Cir. 2003). “When ruling on a 12(b)(6) motion, the complaint must be construed in the light

most favorable to the plaintiff. The court must accept as true all material allegations in the

complaint, as well as any reasonable inferences to be drawn from them.” Id. (internal citations

omitted).




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IV.    ARGUMENT

       A.      Plaintiffs have stated claims for violations of their First and Fourteenth
               Amendment rights.

       The Court should deny Defendants’ motion to dismiss under Rule 12(b)(6) because

Plaintiffs have stated valid First and Fourteenth Amendment claims challenging Oregon’s

mandatory bar membership, the OSB’s use of fees for political and ideological speech without

members’ affirmative consent, and the OSB’s lack of procedures to ensure that members’ First

Amendment rights are respected.

               1.      Plaintiffs have stated a First and Fourteenth Amendment claim
                       against mandatory OSB membership.

       Defendants’ motion to dismiss should be denied with respect to Plaintiffs’ Third Claim

for Relief because it states a valid First and Fourteenth Amendment claim challenging Oregon’s

mandatory bar membership. Compl. ¶¶ 80-89. The Supreme Court has made clear that “[t]he

right to eschew association for expressive purposes” is “protected” by the First Amendment.

Janus, 138 S. Ct. at 2463. Therefore, forcing Plaintiffs to join OSB as a condition of practicing

law infringes on their First Amendment right to freedom of association. And Defendants have

not justified that infringement by showing, as they must, that it “serve[s] a compelling state

interest that cannot be achieved through means significantly less restrictive of associational

freedoms.” Id. at 2465 (citation omitted).

                       a.     Keller, Lathrop, and Harris do not control.

       Contrary to Defendants’ argument, Supreme Court precedent does not foreclose

Plaintiffs’ claim. See MTD 13-14.

       Keller v. State Bar of California, 496 U.S. 1 (1990), does not control this claim because

that case did not actually decide the constitutionality of mandatory bar membership. Rather,

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Keller assumed, without deciding, that compulsory membership requirements are valid, citing

Lathrop v. Donohue, 367 U.S. 820 (1961). Keller, 496 U.S. at 7-9. Keller then went on to decide

a narrower question: whether an attorney’s “free speech rights were violated by the [state] Bar’s

use of his mandatory dues to support objectionable political activities”—a question it answered

in the affirmative. Id. at 9.

        Lathrop did not actually resolve the mandatory-membership question, either. It was a

plurality decision so confusing in its wording that Justice Black remarked, “I do not believe that

either the bench, the bar or the litigants will know what has been decided in this case—certainly I

do not.” Lathrop, 367 U.S. at 865 (Black, J., dissenting); see also id. at 848 (Harlan &

Frankfurter, JJ., concurring) (complaining of the decision’s “disquieting Constitutional

uncertainty”). And the plurality said that it was addressing “only … a question of compelled

financial support of group activities, not … involuntary membership in any other respect,” id. at

828—meaning, in short, that Lathrop failed to resolve the question at issue here. Instead, the

Lathrop plurality simply assumed it was constitutional to force lawyers to join a bar association,

see id. at 843, just as the Keller Court did three decades later.

        In assuming that mandatory membership was constitutional, Lathrop cited another case

that likewise did not actually establish the constitutionality of mandatory bar association

membership, Railway Employes’ Department v. Hanson, 351 U.S. 225 (1956). See Lathrop, 367

U.S. at 842-43. Hanson involved, not mandatory bar association membership, but mandatory

union membership. Hanson, 351 U.S. at 227. Hanson’s only reference to bar association

membership was dicta, stating that mandatory union membership for railway work was “no more

an infringement or impairment of First Amendment rights than there would be in the case of a

lawyer who by state law is required to be a member of an integrated bar.” Id. at 238.

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       What’s more, Hanson has been abrogated. See Hudson v. Chi. Teachers Union, 743 F.2d

1187, 1194 (7th Cir. 1984) (describing Hanson as “no longer authoritative”), aff’d 475 U.S. 292

(1986). In Harris v. Quinn, 134 S. Ct. 2618 (2014), the Court explained why Hanson had been

superseded: because it had “disposed of the critical question in a single, unsupported sentence

that its author essentially abandoned a few years later.” Id. at 2632. There, the Court was

referring to the fact that “in his Lathrop dissent, Justice Douglas, the author of Hanson, came to

the conclusion that the First Amendment did not permit compulsory membership in an integrated

bar.” Id. at 2629. Harris also criticized Abood v. Detroit Board of Education, 431 U.S. 209

(1977)—the case Janus finally overruled—for “treating Hanson … as having all but decided the

constitutionality of compulsory payments to a public-sector union.” Harris, 134 S. Ct. at 2632;

see also Janus, 138 S. Ct. at 2479-80 (describing Abood’s reliance on Hanson as “unwarranted”).

Of course, Lathrop treated Hanson the same way—and so, in turn, did Keller.

       In addition to its reliance on Hanson’s dicta, Lathrop has another problem: it failed to

apply the scrutiny that modern First Amendment jurisprudence requires. The Lathrop plurality

said that, because legislators “might reasonably believe” that “the bulk of State Bar activities

serve the function … of elevating the educational and ethical standards of the Bar,” the state

could “require that the costs of improving the profession in this fashion” be imposed on lawyers

in the form of mandatory bar fees. 367 U.S. at 843. That conclusion has been abrogated,

however, because Janus makes clear that it is not enough that legislators might “reasonably

believe” that compelling association and speech might serve some legitimate purpose. 138 S. Ct.

at 2465. Indeed, Janus characterized the “reasonableness” standard that the Lathrop plurality

applied as “foreign to our free-speech jurisprudence.” Id.; see also id. at 2479-80 (noting that

Hanson’s “deference to legislative judgments” is “inappropriate in deciding free speech issues”).

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       Janus made clear that courts must apply “exacting scrutiny”—or possibly even strict

scrutiny—to the question whether the state’s decision to force an attorney to join the state bar

association violates the First Amendment freedom of association. Id. at 2465. Under exacting

scrutiny, compelled association “must ‘serve a compelling state interest that cannot be achieved

through means significantly less restrictive of associational freedoms.’” Id. (citation omitted).

       Defendants’ suggestion that Harris approved of mandatory bar membership by

“affirm[ing]” Keller is incorrect. (MTD 13-14.) When Harris referred to Keller “fit[ting]

comfortably within the framework” of current First Amendment law, 134 S. Ct. at 2643, it was

referring to the question of “allocating to the members of the bar, rather than the general public,

the expense of ensuring that attorneys adhere to ethical practices”; it was not referring to the

question of compulsory association that Keller failed to resolve. Indeed, every time the Supreme

Court has fit Keller into its compelled speech and association case law, it has emphasized that

regulatory core—not the compulsory association question. See, e.g., United States v. United

Foods, Inc., 533 U.S. 405, 414 (2001) (“The central holding in Keller, moreover, was that the

objecting members were not required to give speech subsidies for matters not germane to the

larger regulatory purpose which justified the required association.”).

                       b.      Dismissal is improper because Defendants have not shown that
                               mandatory bar membership satisfies exacting First
                               Amendment scrutiny.

       Defendants’ motion to dismiss must fail with respect to Plaintiffs’ Third Claim for Relief

because Defendants have not even attempted to show that mandatory bar membership satisfies

exacting scrutiny—i.e., that it “serve[s] a compelling state interest that cannot be achieved

through means significantly less restrictive of associational freedoms.” Janus, 138 S. Ct. at 2465




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(citation omitted). For that reason alone, Defendants’ motion to dismiss Plaintiffs’ Third Claim

for Relief must be denied.

       Moreover, Oregon’s membership requirement cannot survive exacting scrutiny because

the state can achieve any legitimate goals related to “regulating the legal profession and

improving the quality of legal services,” Keller, 496 U.S. at 13, by “means significantly less

restrictive of associational freedoms,” Janus, 138 S. Ct. at 2465 (citation omitted), than

mandatory bar membership.

       On this point, Janus’s details are instructive. In Janus, the government argued that

compelling public-sector workers to subsidize a union with mandatory fees was necessary to

serve the state’s interest in “labor peace.” The “labor peace” theory held that compelling public-

sector workers to subsidize a union was necessary because of the union’s designation as workers’

exclusive bargaining representative. Without compulsory union fees, the theory went, the union

would not be able to act as the sole bargaining representative, and the result would be

“pandemonium” caused by conflicts between different unions. Id. at 2465. Janus found that

assumption to be “simply not true,” id., because, in fact, several federal entities and several states

designate public-sector unions as exclusive representatives, and no such “pandemonium” has

resulted. Therefore, it is “undeniable that ‘labor peace’ can be readily achieved ‘through means

significantly less restrictive of associational freedoms’ than the assessment of agency fees” —

and those fees cannot survive exacting scrutiny. Id. at 2466 (citation omitted).

       As Plaintiffs have alleged in their Complaint, Oregon’s mandatory bar fails exacting

scrutiny for the same reason: the state can achieve its goals for the legal profession without

mandating bar membership or dues. Compl. ¶ 86. It is obvious as a theoretical matter how the

state could do so: by acting as a regulator, penalizing those who break the rules, and providing

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educational services to ensure that practitioners know the rules—just as it already does for

countless other trades. And, in fact, some 19 states and Puerto Rico already regulate the practice

of law without requiring membership in a state bar association. This includes states with large

populations of lawyers, such as Massachusetts, New York, and New Jersey, and states with some

of the smallest bars, such as Vermont and Delaware.3 Id. ¶ 87; Ralph H. Brock, “An Aliquot

Portion of Their Dues:” A Survey of Unified Bar Compliance with Hudson and Keller, 1 Tex.

Tech J. Tex. Admin. L. 23, 24 n.1 (2000).4 If those states can regulate lawyers and improve the

quality of legal services without violating attorneys’ First Amendment rights with a mandatory

bar, so can Oregon.

        The Court therefore should deny Defendants’ motion to dismiss Plaintiffs’ Third Claim

for Relief.

               2.     Plaintiffs have stated a First and Fourteenth Amendment claim
                      challenging OSB’s use of mandatory fees for non-chargeable activities
                      without members’ affirmative consent.

        The Court should deny Defendants’ motion to dismiss with respect to Plaintiffs’ Second

Claim for Relief, which states a valid First and Fourteenth Amendment claim challenging OSB’s

use of mandatory member dues for non-chargeable activities without members’ affirmative

consent. Compl. ¶¶ 73-79.



3
  There are 2,978 lawyers in Delaware and 2,227 in Vermont. American Bar Association,
National Lawyer Population Survey 2018,
https://www.americanbar.org/content/dam/aba/administrative/market_research/National_Lawyer
_Population_by_State_2018.pdf.
4
  This article from 2000 identifies 18 such states, but in 2013, Nebraska eliminated its mandatory
membership requirement, noting that such requirements “present issues under the First
Amendment…because members are required to join the group,” which “‘implicate[s] the First
Amendment freedom of association, which includes the freedom to choose not to associate.’” In
re Petition for a Rule Change to Create a Voluntary State Bar of Nebraska, 841 N.W.2d 167,
173 (Neb. 2013) (quoting Kingstad v. State Bar of Wis., 622 F.3d 708, 712-13 (7th Cir. 2010)).
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                        a.     OSB cannot use an attorney’s funds for political or ideological
                               activities without obtaining the attorney’s affirmative consent.

       In Janus, the Supreme Court reiterated that forcing a person to subsidize the political

speech of another through mandatory fees violates the First Amendment. 138 S. Ct. at 2464. And

Janus specifically rejected the idea that a public-sector union could charge workers an agency

fee first and then give them the option of seeking a refund of amounts improperly used for

political and ideological activity. Id. at 2486. The Court held that “[n]either an agency fee nor

any other payment to [a] union may be deducted from a nonmember’s wages, nor may any other

attempt be made to collect such a payment, unless the employee affirmatively consents to pay.”

Id. (emphasis added).

       Because mandatory bar fees entail the same infringement of First Amendment rights as

the union fees at issue in Janus, see Keller, 496 U.S. at 12-17, a mandatory bar association must

likewise obtain members’ affirmative consent before using their money for political or

ideological speech.

                        b.     OSB uses attorneys’ mandatory dues for political and
                               ideological speech without their affirmative consent.

       OSB does not comply with Janus’s affirmative consent requirement: it charges dues to all

attorneys as a condition of practicing law, regardless of whether they have freely consented in

advance to join or pay. Compl. ¶¶ 26-28, 45. OSB then uses those dues to fund legislative and

policy advocacy and other political and ideological speech. Compl. ¶¶ 35-44. For example, OSB

used Plaintiffs’ mandatory dues to fund its political and ideological speech without their

affirmative consent when it published criticism of President Trump in its April 2018 Bar

Bulletin. Compl. ¶¶ 41-45. Thus, OSB members have no way to avoid having their money used

to support OSB’s political and ideological speech.

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       There is no merit in OSB’s argument that the Bar Bulletin statements were actually

proper expenditures of mandatory dues. OSB argues that the first of the two statements was

germane to improving the quality of legal services, and therefore constitutional, because it

reminded lawyers “to safeguard the rule of law and to ensure its fair and equitable

administration.” MTD 19-20. But that is not all the statement said. Among other things, it also

“condemn[ed] the proliferation of speech that [supposedly] incites … violence” and suggested

that, notwithstanding the First Amendment, something must be done “to address speech” that

supposedly “incites violence.” Compl. Exh. A. Of course the extent to which free speech should

be restricted because of its supposed tendency to incite violence is a highly controversial legal

and political issue—and was a subject of much public debate in the wake of the Charlottesville

events that the Bar Bulletin statements referenced. See, e.g, Alex Blasdel, How the Resurgence of

White Supremacy in the US Sparked a War Over Free Speech, Guardian (May 31, 2018)5

(describing debate within the ACLU and among others); Timothy E.D. Horley, Rethinking the

Heckler’s Veto After Charlottesville, 104 Va. L. Rev. Online 8 (2018)6 (stating that “current

doctrine provides no clear answer” on when government may limit speech that may provoke a

violent response and proposing a new First Amendment standard); Katherine Mangu-Ward, ‘No

Free Speech for Fascists’ Is a Truly Terrible Idea, Reason (Aug. 14, 2017)7 (criticizing calls for

speech restrictions in response to Charlottesville events). Further, it appears that the OSB

intended the first statement to be read in conjunction with the second statement, which OSB




5
  https://www.theguardian.com/news/2018/may/31/how-the-resurgence-of-white-supremacy-in-
the-us-sparked-a-war-over-free-speech-aclu-charlottesville.
6
  http://www.virginialawreview.org/volumes/content/rethinking-hecklers-veto-after-
charlottesville.
7
  https://reason.com/blog/2017/08/14/no-free-speech-for-fascists-is-a-bad-dan.
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chose to publish next to it, which blames “the climate of violence, extremism and exclusion” on

President Trump. Compl. Ex. A.

       OSB disclaims any responsibility for the second statement, however, asserting that it was

the “statement of seven affinity bars,” not OSB or any Defendant, and that therefore “whether or

not it was germane to promoting access to justice and the improvement of legal services is

immaterial.” MTD 20. Of course that is incorrect: regardless of who authored the statement,

OSB chose to publish it using the dues of members who did not want to fund its publication.

       Defendants also suggest that the second Bar Bulletin statement was constitutionally

permissible because, “taken as a whole,” it “announces its support for the [first] Statement” and

for OSB’s commitment to non-discrimination and access to justice. Id. First, as a factual matter,

that is not true: the statement’s longest paragraph (of four) is entirely devoted to criticizing the

President, and another paragraph calls on the President to take certain actions. Compl. Exh. A.

More importantly, OSB’s “as a whole” standard lacks any basis in the law. The OSB cannot use

member dues for political speech by sandwiching that speech between other material—the First

Amendment prohibits OSB from using any amount of mandatory fees for any amount of political

or ideological speech. See Hudson, 475 U.S. at 305 (“[W]hatever the amount, the quality of

[individuals’] interest in not being compelled to subsidize the propagation of political or

ideological views that they oppose is clear.”).

       Finally, there is no merit in Defendants’ assertion that Plaintiffs’ objection to OSB’s

legislative and political advocacy is insufficiently specific. MTD 21. The Complaint is clear

enough: it alleges that OSB engages in legislative and policy advocacy in accordance with

Guidelines it has adopted Compl. ¶¶ 35-36; it alleges that the Guidelines do not distinguish

between germane and non-germane activities or establish any procedures to ensure that OSB’s

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expenditures are germane Id. ¶¶ 37-38; and it states that Plaintiffs object to paying for any of

OSB’s legislative and policy advocacy Id. ¶¶ 54, 56. And to be clear, Plaintiffs object to paying

for any legislative and policy advocacy by OSB, whether “germane” or not, because, as

discussed below, forced funding of any such advocacy cannot survive First Amendment scrutiny.

                        c.      Dismissal is improper because Defendants have not shown that
                                mandatory bar dues satisfy exacting First Amendment
                                scrutiny.

         Defendants argue that the OSB does not have to obtain members’ affirmative consent

before using their mandatory dues for political and ideological speech; according to Defendants,

the Constitution only requires the OSB to give objecting members a refund after it misuses their

dues. Defendants argue that “Keller, not Janus, describes the constitutional protections afforded

members of an integrated bar” and that allowing members to obtain a refund is sufficient under

Keller according to the Ninth Circuit’s decision in Morrow v. State Bar of California, 188 F.3d

1174, 1175 (9th Cir. 1999). MTD 18-19.

         As an initial matter, as explained in Plaintiffs’ First Claim for Relief and part 3 below,

OSB doesn’t actually provide the constitutional protections Keller prescribed—which require

OSB to do more than just provide objectors an after-the-fact refund. See Compl. ¶¶ 61-72; infra

at 19.

         Further, to the extent that Keller condoned using attorneys’ mandatory dues for political

or ideological speech without their affirmative consent, Janus has superseded it. Again, Janus

held that courts must apply at least “exacting scrutiny,” if not strict scrutiny, to laws forcing

individuals to subsidize an organization’s political speech. 138 S. Ct. at 2465. That means a

forced subsidy “must ‘serve a compelling state interest that cannot be achieved through means

significantly less restrictive of associational freedoms.’” Id. (citation omitted).

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        In applying this rule to mandatory public-sector union fees, Janus overruled Abood,

which condoned such fees to pay for expenses germane to the union’s bargaining on employees’

behalf. 138 S. Ct. at 2486. The Court overruled Abood because it “judged the [fees’]

constitutionality … under a deferential standard that finds no support in [the Court’s] free speech

cases”—in other words, Abood failed to “independently evaluate the strength of the government

interests that were said to support the challenged agency-fee provision” or to “ask how well that

provision actually promoted those interests or whether they could have been adequately served

without impinging so heavily on the free speech rights of nonmembers.” Id. at 2479-80. And, as

discussed above, the Janus Court concluded that mandatory union fees could not survive

exacting scrutiny because the government did not show that they were necessary to serve its

interest in labor peace. Id. at 2466. It held that the only way to avoid violating workers’ First

Amendment rights is to not take union fees from them without their affirmative consent. Id. at

2486.

        Keller’s approval of mandatory bar fees was premised on Abood’s validity. See Keller,

496 U.S. at 9-17. The Keller Court found “a substantial analogy between the relationship of the

State Bar and its members, on the one hand, and the relationship of employee unions and their

members on the other.” Id. at 12. And it concluded that, if a union could require workers to pay

fees germane to its bargaining activity under Abood, then a bar association could likewise require

attorneys to pay for activities germane to “regulating the legal profession and improving the

quality of legal services.” Id. at 13-14.

        Thus, with Abood overruled, there is no foundation for Keller’s toleration of bar

associations using mandatory dues for political or ideological speech without a member’s

advance affirmative consent. Like Abood, Keller never subjected mandatory fees to the exacting

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scrutiny the First Amendment requires. Cf. Janus, 138 S. Ct. at 2479-80. Those fees cannot

survive exacting scrutiny because, as discussed above in part 1, the government can regulate the

legal profession and improve the quality of legal services without forcing lawyers to join or pay a

bar association. And, in any event, Defendants have not shown at this stage that the OSB’s use of

fees without affirmative consent survives exacting scrutiny—and therefore they are not entitled

to dismissal of Plaintiffs’ Second Claim for Relief.

               3.      Plaintiffs have stated a First and Fourteenth Amendment claim
                       challenging OSB’s lack of safeguards to ensure member fees are not
                       used for non-germane activities.

       The Court should deny Defendants’ motion to dismiss with respect to Plaintiffs’ First

Claim for Relief, which challenges OSB’s lack of safeguards to ensure that members’ mandatory

dues are not used for political and ideological speech and other non-germane activities

(assuming, in the alternative to Plaintiffs’ other claims, that mandatory bar membership and dues

are permissible at all). Compl. ¶¶ 61-72.

       In Keller, the Supreme Court held that mandatory bar dues may only be used for

activities “germane” to “regulating the legal profession and improving the quality of legal

services.” 496 U.S. at 13-14. The Court held that using mandatory dues to “fund activities of an

ideological nature which fall outside of those areas of activity” violates members’ First

Amendment right to freedom of speech and association. Id. at 14.

       Under Keller, a bar association can meet its constitutional obligation to ensure that

members are not forced to pay for such non-germane activities by providing: (1) “an adequate

explanation of the basis for the [mandatory bar association] fee”; (2) “a reasonably prompt

opportunity to challenge the amount of the fee before an impartial decisionmaker”; and (3) “an

escrow for the amounts reasonably in dispute while such challenges are pending.” Id. at 16. This

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is the same “minimum set of procedures” the Supreme Court prescribed for public-sector

unions—to ensure that non-members’ mandatory union fees were not used for political or

ideological activity not germane to the union’s representation activities—in Chicago Teachers

Union v. Hudson, 475 U.S. 292 (1986). Keller left open the question of “whether one or more

alternative procedures would likewise satisfy” a bar association’s constitutional obligation, 496

U.S. at 17—but in the three decades since Keller, the Court has not identified a satisfactory

alternative to Hudson’s minimum.

       Plaintiffs have alleged that OSB fails to satisfy the first Hudson requirement: it does not

provide members with an explanation of how their mandatory dues amount is calculated. Compl.

¶ 66. Indeed, Plaintiffs allege that OSB publishes no information about whether or how it

determines whether a given allocation of funds was for purposes germane to improving the

quality of legal services and regulating attorneys. Id. ¶ 34. OSB therefore provides its members

with no way to know how the OSB determines what portion of its expenses are chargeable to

members as part of their mandatory dues; it “leav[es members] in the dark about the source of”

their mandatory dues amount. Hudson, 475 U.S. at 306. And by denying members information

about how their dues are calculated, it denies them a meaningful opportunity to challenge the

calculation of their dues amount and protect their First Amendment rights. See id.

       Further, OSB’s Bylaws do not satisfy the second Hudson requirement: they do not

provide for an escrow for amounts reasonably in dispute while a member’s challenge to an

expenditure is pending. See Keller, 496 U.S. at 16.

       OSB asserts that it is enough that OSB offers members an opportunity to object to

particular expenditures and obtain a refund after the fact. MTD 14-15. But Hudson makes clear

that is not enough: even where a refund is available and funds are escrowed, the bar association

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must explain its fee in advance. Hudson, 475 U.S. at 309. This is “required because the

[mandatory fee] itself impinges on … First Amendment interests, and because the [member] has

the burden of objection.” Id. Requiring advance justification of the bar fee is “necessary to

minimize both the impingement and the burden.” Id. And placing at least a portion of an

objecting member’s dues in an interest-bearing escrow account is necessary to ensure that a

member’s dues are not “temporarily used for impermissible purposes.” Id.

       Contrary to Defendants’ repeated assertions, the Ninth Circuit has not held that a bar

association can satisfy its First Amendment obligations simply by offering members the

opportunity to seek a refund after it misuses their dues. MTD 15, 17, 18. In the case Defendants

rely on for this point, the court noted that the plaintiffs, who sued the State Bar of California, did

“not complain about how the State Bar spen[t] their mandatory dues” and that, “[i]n compliance

with the Supreme Court’s decision in Keller, the State Bar allow[ed] members to seek a refund

of the proportion of their dues that the State Bar has spent on political activities unrelated to its

regulatory function.” Morrow, 188 F.3d at 1175. These statements—which appear in Morrow’s

background section and are not part of its legal analysis—are not even dicta for Defendants’

position. Morrow suggests, in passing, that a refund is at least part of what Keller requires; it

does not suggest, much less hold, that a refund is all that Keller requires. Again, Keller itself did

not say that a refund alone would suffice, but rather pointed to Hudson’s procedures as satisfying

the constitutional minimum. See Keller, 496 U.S. at 17.

       Finally, Defendants’ assertions about the OSB’s supposedly adequate procedures for

refunds and arbitration depend on facts outside the complaint and therefore cannot serve as a

basis for dismissal under Rule 12(b)(6). See MTD 15-17. Defendants are correct that the Court

may take judicial notice of the OSB’s bylaws—i.e., the Court may take notice that the bylaws

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exist and say what they say. Id. at 7 n.6. But the mere existence of those bylaws does not prove

that Defendants actually apply them, or apply them in a manner that sufficiently protects

members’ First Amendment rights. And Plaintiffs have alleged that the OSB does not afford

members an adequate opportunity to dispute the misuse of their dues. Compl. ¶ 67. At this stage,

the Court must accept those allegations as true and cannot consider factual matters outside the

Complaint.

       Because the Plaintiffs’ allegations, if true, would establish that Defendants are failing to

provide adequate safeguards for OSB members’ First Amendment rights, the Court should deny

Defendants’ motion to dismiss with respect to Plaintiffs’ First Claim for Relief.

       B.      The Oregon State Bar is not entitled to Eleventh Amendment immunity.

       The OSB is not an “arm of the state” entitled to Eleventh Amendment immunity and

therefore is not entitled to dismissal under Rule 12(b)(1). See MTD 7.

       Although state agencies are generally immune from suit in federal court, “an entity may

be organized or managed in such a way that it does not qualify as an arm of the state entitled to

sovereign immunity.” Durning v. Citibank, N.A., 950 F.2d 1419, 1423 (9th Cir. 1991). To

determine whether an entity is an arm of the state, courts in this Circuit apply the five-factor test

first articulated in Mitchell v. L.A. Cmty. Coll. Dist., 861 F.2d 198, 201 (9th Cir. 1988). 8 See,


8
  Cases Defendants have cited in which a bar association was described as an arm of the state
(MTD 8-9) did not perform the required Mitchell analysis and in any event are not binding
regarding OSB’s entitlement to Eleventh Amendment immunity here. See Hirsh v. Justices of
Sup. Ct. of Cal., 67 F.3d 708, 715 (9th Cir 1995); Ginter v. State Bar of Nev., 625 F2d 829, 830
(9th Cir 1980); Eugster v. Wash. State Bar Ass’n, No. C15-0375JLR, 2015 WL 5175722, at *9
(W.D. Wash. Sept. 3, 2015), aff’d on other grounds 684 Fed. App’x 618 (9th Cir 2017);
Hartfield v. Or. State Bar, No. 3:16-cv-00068-ST, 2016 WL 9225978, at *1 (D. Or. Jan. 15,
2016), report and recommendation adopted 2016 WL 9226386 (D. Or. Feb. 16, 2016), aff’d on
other grounds 671 F App’x 456 (9th Cir 2016); Coultas v. Payne, No. 3:12-cv-1132-AC, 2012
WL 6725845, at *3 (D. Or. Nov. 27, 2012), report and recommendation adopted 2012 WL
6726247, at *1 (D. Or. Dec. 27, 2012); Weidner v. Albertazzi, No. 06-930-HO, 2006 WL
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e.g., Beentjes v. Placer Cnty. Air Pollution Control Dist., 397 F.3d 775, 778 (9th Cir. 2005) (“In

the Ninth Circuit, we employ a five-factor test to determine whether an entity is an arm of the

state[.]”); Holz v. Nenana City Pub. Sch. Dist., 347 F.3d 1176, 1181 (9th Cir. 2003) (“These

factors must be analyzed in light of the way [state] law treats the governmental agency”)

(internal marks and citation omitted). Under the Mitchell test, 861 F.2d at 201, a court must

weigh five factors:

               [1] whether a money judgment would be satisfied out of state
               funds, [2] whether the entity performs central governmental
               functions, [3] whether the entity may sue or be sued, [4] whether
               the entity has the power to take property in its own name or only
               the name of the state, and [5] the corporate status of the entity.

In this case, all five factors weigh against Eleventh Amendment immunity for the OSB.

               1.      A money judgment against the OSB would not be satisfied out of state
                       funds.

       The first Mitchell factor weighs against immunity because a judgment against the OSB

would not be satisfied out of state funds. “When a state entity is structured so that its obligations

are its own special obligations and not general obligations of the state, that fact weighs against a

finding of sovereign immunity.” Durning, 950 F.2d at 1425–26; see also Hyland v. Wonder, 117

F.3d 405, 414 (9th Cir. 1997) (defendants not immune under Eleventh Amendment when they

did not present “any evidence that the state would be liable for the judgment”).

       The Supreme Court and the Ninth Circuit have consistently found the first Mitchell factor

to be the most important: Because “the impetus for the Eleventh Amendment [is] the prevention

of federal-court judgments that must be paid out of a state’s treasury … the vulnerability of the

State's purse [is] the most salient factor in Eleventh Amendment determinations.” Hess v. Port



2987704, at *1 (D. Or. Oct. 13, 2006); Erwin v. Or. ex rel. Kitzhaber, 231 F. Supp. 2d 1003,
1007 (D. Or. 2001), aff’d on other grounds 43 Fed. App’x 122 (9th Cir. 2002).
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Auth. Trans–Hudson Corp., 513 U.S. 30, 48 (1994) (citations omitted); see also Savage v.

Glendale Union High Sch., Dist. No. 205, 343 F.3d 1036, 1041 (9th Cir. 2003) (“[T]he first

Mitchell factor is the most important component in establishing Eleventh Amendment

immunity.” (citation omitted)); Durning, 950 F.2d at 1424 (same).

       Here, this most important factor weighs against immunity because, as Defendants admit,

the State of Oregon would have no legal obligation to satisfy a judgment against the OSB. MTD

10. By statute, “[n]o obligation of any kind incurred or created [by the OSB] shall be, or be

considered, an indebtedness or obligation of the State of Oregon.” ORS 9.010(6). Oregon law

also prevents the State from utilizing or controlling OSB funds: “All [OSB member] fees shall be

paid into the treasury of the Oregon State Bar, and when so paid shall become part of [the

OSB’s] funds and shall be disbursed only on order of the board of governors,” ORS 9.070,

which, in turn, “may make appropriations and disbursements from the funds of the bar and pay

all necessary expenses.” ORS 9.090. See also 44 Or. Op. Att’y Gen. 336 (1985) (finding that the

OSB’s funds are not state fiscal resources and are not money or property belonging to the state,

and that the state has no proprietary interest in those funds).

               2.      The OSB does not perform central governmental functions.

       The second Mitchell factor also weighs against immunity because the OSB performs

independent corporate functions with minimal state control. “In assessing the second Mitchell

factor—whether the entity performs a central governmental function—[a court] evaluate[s]

whether the [entity] addresses a matter of statewide rather than local or municipal concern, and

the extent to which the state exercises centralized governmental control over the entity.”

Beentjes, 397 F.3d at 782 (internal marks and citations omitted). Where some of an entity’s

activities may involve a central government role but others do not, this factor may not weigh for

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or against immunity. See, e.g., Gressett v. Cent. Ariz. Water Conservation Dist., No. CV 12-

00185-PHX-JAT, 2012 WL 3028347, at *3 (D. Ariz. July 24, 2012) (because of entities’ dual

role—“[i]n some ways … act[ing] in a central government role” but also conducting activities

“not usually assigned to the central government[,]” the second Mitchell factor did not indicate

whether defendant should be treated as an arm of the state).

       Keller recognized that a bar association is not a typical government agency, does not

perform key governmental functions related to regulating the practice of law, and therefore is not

entitled “to the treatment accorded a governor, a mayor, or a state tax commission” under federal

constitutional law. 496 U.S. at 11. The Court observed that the State Bar of California—a

defendant in Keller, notwithstanding the Eleventh Amendment—“is a good deal different from

most other entities that would be regarded in common parlance as ‘governmental agencies.’” Id.

It is funded primarily by members, not taxpayers, and its “services,” however valuable, “are

essentially advisory in nature”: it “does not admit anyone to the practice of law, it does not

finally disbar or suspend anyone, and it does not ultimately establish ethical codes of conduct”

because “those functions are reserved by California law to the State Supreme Court.” Id.

       It is the same in Oregon: while the OSB may make recommendations, the Oregon

Supreme Court is not bound to accept them and is the body actually responsible for admitting

attorneys (ORS 9.210(2), 9.250), accepting attorney resignations (ORS 9.261), adopting rules of

professional conduct (ORS 9.490), approving application fees (ORS 9.210(3)), disciplining

attorneys (ORS 9.536), and approving rules of procedure investigations of attorneys and bar

applicants (ORS 9.542). Further, criteria for bar admission and attorney discipline are set by

statute, not by the OSB. See ORS 9.220, 9.527.




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       Otherwise, the OSB mostly conducts its activities independently, not under centralized

state control. It has complete autonomy in determining how the OSB’s general responsibilities

are carried out, which weighs against a finding that it performs a “centralized governmental

function.” See, e.g., Beentjes, 397 F.3d at 783 & n.9; Wojcik v. Mass. State Lottery Comm'n, 300

F.3d 92, 101 (1st Cir. 2002) (assessing, among other things, “whether the state exerts control

over the agency, and if so, to what extent” (citation omitted)). OSB acts under the management

and control of its Board of Governors—elected by OSB’s active members—not the state. ORS

9.025, 9.040. The Board appoints the OSB’s Chief Executive Officer. ORS 9.055. The Board is

charged with the executive functions of the OSB, and the Board has the power to adopt, alter,

amend, and repeal bylaws related to the regulation and management of the OSB. ORS 9.080.

Under the Board’s supervision (alone), the OSB’s CEO implements, administers, and supervises

the OSB’s operation and program activities. OSB Bylaw § 2.1(a). The Board operates as a

review body, a supervisor of top management performance and a representative body of all

members. Bylaws § 2.1(b). The Board may amend the OSB’s responsibilities and Bylaws

without Judicial Department review or concurrence. See Bylaws § 29. The Oregon Supreme

Court does appoint a professional responsibility board that institutes the OSB’s disciplinary

proceedings (ORS 9.532, 9.534), as well as a board of bar examiners (ORS 9.210(1)), but it does

not control those boards’ operation.

       Because the ultimate governmental authority for regulating the legal profession lies with

the Oregon Supreme Court, not OSB, and the OSB acts independently of the state in exercising

its own functions, the second Mitchell factor weighs against a finding of immunity.




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                3.       The OSB may sue and be sued.

        The third Mitchell factor weighs against immunity because, as stated in ORS 9.010(5),

the OSB may sue and be sued. See Eason v. Clark Cnty. Sch. Dist., 303 F.3d 1137, 1144 (9th Cir.

2002) (ability to sue and be sued “weigh[ed] slightly against holding that [a school district was]

an arm of the state”).

        True, as Defendants say, an entity’s ability to be sued in state court does not necessarily

automatically waive Eleventh Amendment immunity. MTD 10. But a waiver of Eleventh

Amendment immunity is not necessary for this factor to weigh against immunity. After all, if a

statute expressly waived an entity’s Eleventh Amendment rights, there would no reason to

analyze the Mitchell factors at all.

        Defendants receive no help from the cases they cite in their discussion of this factor,

Estate of Pond v. Oregon, 322 F. Supp. 2d 1161 (D. Or. 2004), and Belanger v. Madera Unified

School District, 963 F.2d 248 (9th Cir 1992). MTD 10. In Estate of Pond, the Court did not

apply the Mitchell test, or discuss its third factor, because it didn’t need to: the named defendant

was the State of Oregon itself, which, in the absence of a waiver, is always entitled to Eleventh

Amendment immunity for tort claims such as the ones the plaintiffs in that case raised. In

Belanger, the court found that a California statute allowing school districts to sue and be sued

“militate[d] against a finding of Eleventh Amendment immunity.” 963 F.2d at 254.

                4.       The OSB may take property in its own name, not the name of the
                         state.

        The fourth Mitchell factor weighs against immunity because the OSB has the power and

authority to acquire property. See, e.g., Beentjes, 397 F.3d at 784 (statute allowing school district

to purchase, gift, devise, or lease real or personal property “weigh[ed] in favor of finding that the

District is not an arm of the state”).
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       By statute, the OSB “may, in its own name ... enter into contracts and lease, acquire,

hold, own, encumber, insure, sell, replace, deal in and with and dispose of real and personal

property.” ORS 9.010(5). This means that the OSB may acquire property and collect fees in its

own name, which remain solely the OSB’s, maintained separately from the State for the use of

the OSB, and create no State proprietary interest. See 44 Or. Op. Att’y Gen. 336 (1985). Further,

the OSB is not subject to the statute that requires state agencies to remit funds to the State

Treasurer, ORS 293.265. See ORS 9.010(3), (4). And the State may not otherwise take

possession of or control the OSB’s funds; the Board alone (i.e., OSB itself) exclusively controls

all disbursement of OSB funds. ORS 9.070(2), 9.090.

       Defendants contend that the OSB may not freely use all property it possesses.

Specifically, Defendants say “the Uniform Disposition of Unclaimed Property Act allows the

Bar to take possession of abandoned client funds held in lawyers’ trust accounts, but directs these

funds to the state’s Legal Services Program.” MTD 11. But that only imposes certain

responsibilities on OSB in exchange for receiving certain abandoned client funds; it does not

bear on OSB’s ability to take and own property generally, and it does not make any funds in

OSB’s possession the property of the state. Again, OSB’s discretion with regard to its own funds,

paid by member fees, is not limited.

               5.      The OSB’s corporate status weighs against immunity.

       The final Mitchell factor—corporate status—also weighs against immunity because the

OSB is not the state government, a public body, or part of the Judicial Department; rather, it is a

“special government body” distinct from the State. 861 F.2d at 201.

       “The final Mitchell factor is concerned with the extent to which … an entity [is] distinct

from the state.” Beentjes, 397 F.3d at 784. Whether an entity is to be treated as an arm of the

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State, partaking of the State’s Eleventh Amendment immunity, or, on the contrary, as an entity to

which the Eleventh Amendment does not extend, turns in part on the nature of the entity created

by state law. Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 280 (1977).

        The OSB is a creature of statute, designated a “public corporation and an instrumentality

of the Judicial Department of the government of the State of Oregon.” ORS 9.010(2). The Bar is

not state government, a public body, or the Judicial Department. See ORS 174.111, 174.109,

174.113. Rather, as “[a] public corporation created under a statute of this state and specifically

designated as a public corporation,” it is a “special government body.” ORS 174.117(1).

        Other examples of special government bodies include school districts, education service

districts, intergovernmental bodies formed by two or more public bodies, and entities created by

statute, ordinance or resolution that are not part of state or local government. ORS 174.117(1).

Inclusion of OSB as a special government body is telling: in general, special government bodies

are more localized or otherwise separate and distinct from state government—i.e., the very kinds

of entities that do not enjoy Eleventh Amendment immunity. See, e.g., Beentjes, 397 F.3d 775

(county air pollution control district not an arm of the state); Savage, 343 F.3d 1036 (school

district not an arm of the state); Eason, 303 F.3d 1137 (same); Durning, 950 F.2d 1419

(statutorily created Community Development Authority not an arm of the state); Stewart v.

Baldwin Cnty. Bd. of Educ., 908 F.2d 1499 (11th Cir. 1990) (county school board not an arm of

the state).

        The OSB is exempt from most requirements of state agencies, departments, boards,

commissions, and public bodies. See ORS 9.010(4). Again, OSB is supervised by its Board and

enforces the Board’s Bylaws. Further, the OSB’s employees are not state employees. See ORS




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9.080(4) (“Except as provided in this subsection, an employee of the state bar shall not be

considered an ‘employee’ as the term is defined in the public employees’ retirement laws.”).9

       Again, minimal state control over an entity points towards independence from the state.

See Beentjes, 397 F.3d at 785 (“As the district court properly noted, the State exercises little

control over the structure and operation of the districts, which suggests that districts function

independently from the State”) (internal quotations omitted)). And, as the Supreme Court has

observed, a mandatory bar association may be more analogous to a labor union than to any kind

of governmental unit. See Keller, 496 U.S. at 11.

       Therefore, the final Mitchell factor—like all of the other Mitchell factors—weighs against

a finding of Eleventh Amendment immunity for the OSB.

       C.      Defendants’ qualified immunity argument is moot because Plaintiffs do not
               seek damages against the individual Defendants.

       Defendants’ argument that the individual Defendants are entitled to qualified immunity

with respect to Plaintiffs’ claims for damages (MTD 21-23) is moot because Plaintiffs do not

intend to seek damages from the individual Plaintiffs. For their damages, Plaintiffs Crowe and

Peterson simply seek to have the OSB refund their dues payments. Against the individual

Defendants, Plaintiffs seek only declaratory and injunctive relief, which qualified immunity does

not bar. See Presbyterian Church (U.S.A.) v. United States, 870 F.2d 518, 527 (9th Cir.1989).




9
 For example, the state does not list the individual Defendants in this case as state employees
with respect to their positions with the OSB or its Board. State Employee List (Alphabetical),
available at https://dasapp.oregon.gov/statephonebook/personnellisting.pdf.
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       D.      Plaintiffs do not oppose dismissal of the Oregon State Bar Board of
               Governors.

       Plaintiffs do not oppose dismissal of Defendant Oregon State Bar Board of Governors on

the basis that it is not a legal entity separate from the Oregon State Bar and has no capacity to be

sued. See MTD 23.

V.     CONCLUSION

       The Court should deny Defendants’ motion to dismiss Plaintiffs’ First and Fourteenth

Amendment claims.

Dated: January 30, 2019

                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       Document Electronically Filed and Served by ECF this 30th day of February, 2019 to:

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